
In re Lewis, Clifford J.; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “A”, No. 348-299.
Granted for the sole purpose of transferring the application to the district court for its immediate consideration. In addition, the district court is ordered to provide this Court with a copy of the judgment rendered. A proceeding to have the defendant sentenced as a multiple offender under La. R.S. 15:529.1 must be completed before the defendant serves the sentence which is to be enhanced. State ex rel. Williams v. Henderson, 289 So.2d 74 (La.1974); cf., State v. McQueen, 308 So.2d 752 (La.1975).
